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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.        2:20-cv-09828-FLA (SP)                                 Date   October 20, 2021
 Title           REVELA CURL v. HARBOR U.C.L.A. HOSPITAL OF TORRANCE CALIFORNIA, et
                 al.




 Present: The Honorable         Sheri Pym, United States Magistrate Judge
           Kimberly Carter                           None Appearing
                Deputy Clerk                     Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiff(s):                Attorneys Present for Defendant(s):
                     None Appearing                                    None Appearing
 Proceedings:              (IN CHAMBERS) ORDER TO SHOW CAUSE WHY COMPLAINT
                           SHOULD NOT BE DISMISSED FOR FAILURE TO PROSECUTE

       On October 27, 2020, plaintiff Revela Curl, proceeding pro se, filed a civil rights
complaint pursuant to 42 U.S.C. § 1983. The complaint asserts a number of claims
related to events in which plaintiff lost custody of her daughter shortly after giving birth
to her daughter at Harbor UCLA Hospital. On February 18, 2021, this court, having
completed screening of the complaint, found it subject to dismissal and granted plaintiff
leave to file a First Amended Complaint by March 18, 2021. The court also instructed
plaintiff she could notify the court by March 18, 2021 that she intended to stand on the
complaint without amendment. Several months having passed beyond this deadline, the
court has not received a First Amended Complaint or any other communication from
plaintiff.

       Accordingly, within twenty-one (21) days of the date of this Order, that is, by
November 10, 2021, plaintiff is ORDERED TO SHOW CAUSE, in writing, why this
action should not be dismissed for failure to prosecute and/or comply with a court order.
Plaintiff is cautioned that her failure to timely file a response to this Order to Show Cause
will be deemed by the court as consent to the dismissal of this action without prejudice.
In the event plaintiff wishes to voluntarily dismiss this action, plaintiff may complete and
return the enclosed Notice of Dismissal form by November 10, 2021.

      If plaintiff files a First Amended Complaint by November 10, 2021, this Order to
Show Cause will be automatically discharged, and plaintiff need not respond to it
separately.

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